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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA


 Judicial Watch, Inc.,                                 No. 18-cv-154 RBW

                                      Plaintiff,       Hon. Reggie B. Walton
                                                       United States District Judge
                         v.

 U.S. Department of Justice,

                                    Defendant.


                                     JOINT STATUS REPORT

         This FOIA case seeks travel records of and communications between former Federal

Bureau of Investigation employees Peter Strzok and Lisa Page. In accordance with the Court’s

minute orders dated June 26 and December 16, 2020, plaintiff Judicial Watch, Inc. and defendant

U.S. Department of Justice report as follows:

         1.      The FBI has finished its initial processing of potentially responsive records. The

only remaining potentially responsive records to be processed are approximately 1,200 pages on

which the FBI is consulting with other agencies or components. The FBI is processing these

consultations as it receives responses from the other agencies and components.

         2.      Between June 1 and June 30, 2022, the FBI processed 66 pages of potentially

responsive records and released in whole or in part 53 pages of responsive records to Judicial

Watch.

         3.      Between July 1 and July 31, 2022, the FBI processed 15 pages of potentially

responsive records and released in whole or in part 15 pages of responsive records to Judicial

Watch.

         4.      Many of the remaining potentially responsive records on which the FBI is
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consulting with other agencies and components implicate the equities of multiple agencies and

components. Although the FBI received consultation responses on some potentially responsive

records from other agencies and components between August 1 and September 30, 2022, the FBI

has not yet received consultation responses from all of the relevant agencies and components on

any of these records. The FBI accordingly did not release any non-exempt responsive records to

Judicial Watch between August 1 and September 30, 2022.

       5.      In accordance with the Court’s minute orders dated June 26 and December 16,

2020, the parties will file another status report advising the Court of the FBI’s progress in

processing the request on or before January 3, 2023.

Dated: October 3, 2022                                Respectfully submitted,

/s/ Michael Bekesha                                   BRIAN M. BOYNTON
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